Case 23-12825-MBK             Doc 254        Filed 04/20/23 Entered 04/20/23 13:17:36      Desc Main
                                            Document     Page 1 of 5



  UNITED STATES BANKRUPTCY COURT
  DISTRICT OF NEW JERSEY
  Caption in Compliance with D.N.J. LBR 9004-1(b)

  GENOVA BURNS LLC                                       BROWN RUDNICK LLP
  Daniel M. Stolz, Esq.                                  David J. Molton, Esq.
  Donald W. Clarke, Esq.                                 Robert J. Stark, Esq.
  dstolz@genovaburns.com                                 Michael S. Winograd, Esq.
  dclarke@genovaburns.com                                Eric R. Goodman, Esq.
  110 Allen Road, Suite 304                              dmolton@brownrudnick.com
  Basking Ridge, NJ 07920                                rstark@brownrudnick.com
  Tel: (973) 467-2700                                    mwinograd@brownrudnick.com
  Fax: (973) 467-8126                                    egoodman@brownrudnick.com
                                                         Seven Times Square
                                                         New York, NY 10036
                                                         Tel: (212) 209-4800
                                                         Fax: (212) 209-4801
  Proposed Local Counsel to the Official                 and
  Committee of Talc Claimants
                                                         Jeffrey L. Jonas, Esq.
                                                         Sunni P. Beville, Esq.
                                                         jjonas@brownrudnick.com
                                                         sbeville@brownrudnick.com
                                                         One Financial Center
                                                         Boston, MA 02111
                                                         Tel: (617) 856-8200
                                                         Fax: (617) 856-8201
                                                         Proposed Co-Counsel for the Official
                                                         Committee of Talc Claimants

  MASSEY & GAIL LLP                                      OTTERBOURG PC
  Jonathan S. Massey, Esq.                               Melanie L. Cyganowski, Esq.
  jmassey@masseygail.com                                 Adam C. Silverstein, Esq.
  1000 Maine Ave. SW, Suite 450                          Jennifer S. Feeney, Esq.
  Washington, DC 20024                                   mcyganowski@otterbourg.com
  Tel: (202) 652-4511                                    asilverstein@otterbourg.com
  Fax: (312) 379-0467                                    jfeeney@otterbourg.com
                                                         230 Park Avenue
  Proposed Special Counsel for the Official              New York, NY 10169
  Committee of Talc Claimants                            Tel: (212) 905-3628
                                                         Fax: (212) 682-6104

                                                         Proposed Co-Counsel for the Official
                                                         Committee of Talc Claimants
Case 23-12825-MBK             Doc 254      Filed 04/20/23 Entered 04/20/23 13:17:36                       Desc Main
                                          Document     Page 2 of 5




   In Re:                                                      Chapter 11

   LTL MANAGEMENT, LLC,                                        Case No.: 23-12825 (MBK)

                                      Debtor.                  Honorable Michael B. Kaplan


      OBJECTION OF THE OFFICIAL COMMITTEE OF TALC CLAIMANTS
   TO DEBTOR’S APPLICATION FOR ORDER SHORTENING TIME [Dkt. No. 241]
    WITH RESPECT TODEBTOR’S MOTION FOR AN ORDER (I) SCHEDULING
   HEARING ON APPROVAL OF DISCLOSURE STATEMENT; (II) ESTABLISHING
    DISCLOSURE STATEMENT OBJECTION DEADLINE; AND (III) GRANTING
                     RELATED RELIEF [Dkt. No. 240]


          The Official Committee of Talc Claimants (the “TCC” or the “Committee”) in the above-

 captioned case of LTL Management, LLC (the “Debtor” or “LTL”), respectfully submits, by and

 through its proposed counsel, this objection (the “Objection”) to the Debtor’s Application for

 Order Shortening Time [Dkt. No. 241] (the “Application”) with respect to the Debtor’s Motion

 for an Order (I) Scheduling Hearing on Approval of Disclosure Statement; (II) Establishing

 Disclosure Statement Objection Deadline; and (III) Granting Related Relief [Dkt. No. 240] (the

 “Motion”)1 filed at 10:37 pm and 10:42 pm on April 19, 2023. In support of this Objection to the

 Debtor’s Application, the Committee respectfully states as follows:

                                      PRELIMINARY STATEMENT

          1.       Neither the Application nor the Motion establish sufficient cause as required under

 Fed. R. Bankr. P. 9006(c)(1) for granting the Debtor’s request for a hearing on the Motion on

 shortened notice or, for that matter, for granting the extraordinary relief requested by the Debtor

 in the Motion itself for an accelerated disclosure statement approval process and plan confirmation



          1
            Capitalized terms used herein that are not otherwise defined herein shall have the meanings ascribed to
 such terms in the Motion.



                                                           2
Case 23-12825-MBK         Doc 254    Filed 04/20/23 Entered 04/20/23 13:17:36             Desc Main
                                    Document     Page 3 of 5



 process in this hotly contested Chapter 11 case. Indeed, the record of this newly-filed Chapter 11

 case, filed barely two hours after the dismissal of the first LTL Chapter 11 case in accordance with

 the mandate issued by the Third Circuit Court of Appeals, is already abundantly clear that LTL

 still fails to qualify as a debtor under the Third Circuit’s precedential opinion in LTL Mgmt., LLC

 v. Those Parties Listed on Appendix A to Complaint et al. (In re LTL Mgmt., LLC), --- F.4th ---,

 2023 WL 2760479 (3d Cir. Mar. 31, 2023) (amended opinion) (the “LTL Third Circuit

 Opinion”). Accordingly, this Chapter 11 case should be dismissed. At the very least, this Court’s

 jurisdiction first needs to be established, rendering the Debtor’s Motion premature and

 undermining the Debtor’s supposed “cause” for approval of the Application.

        2.      For the reasons set forth herein, the Committee respectfully requests that the

 Application be denied.

                                           ARGUMENT

        3.      Fed. R. Bankr. P. 9006(c)(1) provides, in relevant part, that “the court for cause

 shown may in its discretion … order the period [of certain notice requirements] reduced.”

        4.      In its Application, the Debtor offers no basis for why the Motion should be heard

 on shortened notice. In the Application, the Debtor merely states that “[h]earing the Motion on

 shortened notice, prior to the date by which the Debtor intends to file the Plan, the Disclosure

 Statement, and the Disclosure Statement Motion, will benefit parties in interest by establishing a

 schedule that will assist in the prompt resolution of this Chapter 11 Case.” Application at ¶ 2. The

 Application fails to acknowledge the already-established record here that the very existence of this

 Chapter 11 case is a hotly contested issue. Indeed, at the conclusion of the Court’s lengthy hearing

 on April 18, 2023 with respect to the Debtor’s motion for a preliminary injunction in the related




                                                  3
Case 23-12825-MBK         Doc 254     Filed 04/20/23 Entered 04/20/23 13:17:36             Desc Main
                                     Document     Page 4 of 5



 adversary proceeding, Committee’s counsel advised the Court and all parties that a motion to

 dismiss the Chapter 11 case by the Committee is imminent, and could be filed by weeks’ end.

        5.      Furthermore, the Motion itself fails to establish cause for the accelerated disclosure

 statement approval process and plan confirmation process proposed there. The Debtor admits that

 the Debtor’s supposed Plan, the Disclosure Statement, and the Disclosure Statement Motion have

 not even been filed yet. Like the Application, the Motion fails to acknowledge the fact that the

 Committee and other parties have already questioned the propriety of this Chapter 11 filing and,

 therefore, this Court’s jurisdiction with respect thereto.

        6.      Nonsensically, the Debtor suggests that the fact that it is requesting in the Motion

 an accelerated disclosure statement approval and plan confirmation process establishes sufficient

 cause for the requested reductions in time, when it states: “Given the significance of the relief

 sought in the Disclosure Statement Motion, the Debtor respectfully submits that a 10-day period

 to respond to any Disclosure Statement Objections is reasonable and necessary under the

 circumstances, and is consistent with the Local Rules of U.S. Bankruptcy Court for the District of

 New Jersey….” Motion at ¶ 13. To the contrary, the significance of the serious issues being raised

 by the Committee and others with respect to LTL not complying with the Third Circuit’s decision

 dismissing the first LTL case augers against granting the Application and the Motion.

        7.      Simply put, the Motion is premature and, frankly, is an unnecessary distraction

 from the primary issue that demands this Court’s attention: that LTL fails to satisfy the criteria

 established by the Third Circuit requiring dismissal of this Chapter 11 case.

        8.      The Debtor fails to establish cause for the Application to be heard on shortened

 notice and, therefore, should be denied.




                                                   4
Case 23-12825-MBK        Doc 254     Filed 04/20/23 Entered 04/20/23 13:17:36             Desc Main
                                    Document     Page 5 of 5



                                  RESERVATION OF RIGHTS

        9.      The Committee reserves all of its rights, claims, defenses, and remedies, with

 respect to the Motion, the Debtor’s supposed Plan, the Disclosure Statement, and the Disclosure

 Statement Motion and the propriety of this Chapter 11 case.

                                          CONCLUSION

        WHEREFORE, the Committee respectfully requests that this Court deny the Application

 and grant such other and further relief as it deems necessary.

 Dated: April 20, 2023

                                                      GENOVA BURNS LLC

                                                      By: /s/ Gregory S. Kinoian
                                                              Daniel M. Stolz, Esq.
                                                              Donald W. Clarke, Esq.
                                                              Gregory S. Kinoian, Esq.
                                                              110 Allen Rd., Suite 304
                                                      Basking Ridge, NJ 07920
                                                      Tel: (973) 230-2095
                                                      Fax: (973) 533-1112
                                                      Email: DStolz@genovaburns.com
                                                              DClarke@genovaburns.com
                                                              GKinoian@genovaburns.com

                                                      Proposed Local Counsel for the Official
                                                      Committee of Unsecured Creditors




                                                  5
